     Case 8:19-cr-00061-JVS Document 261 Filed 09/04/20 Page 1 of 19 Page ID #:3693



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13   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 No. SA CR 19-61-JVS
17
                Plaintiff,                     GOVERNMENT’S OPPOSITION TO
18                                             DEFENDANT MICHAEL JOHN AVENATTI’S
                      v.                       EX PARTE APPLICATION FOR AN ORDER
19                                             RELATING TO THE PROSECUTION’S
     MICHAEL JOHN AVENATTI,                    RECEIPT AND REVIEW OF ATTORNEY-
20                                             CLIENT PRIVILEGED MATERIALS;
                Defendant.                     EXHIBITS
21

22

23         Plaintiff United States of America, by and through its counsel

24   of record, the United States Attorney for the Central District of

25   California and Assistant United States Attorneys Julian L. André and

26   Brett A. Sagel, hereby files its opposition to defendant MICHAEL JOHN

27   AVENATTI’s ex parte application for an order relating to the

28
     Case 8:19-cr-00061-JVS Document 261 Filed 09/04/20 Page 2 of 19 Page ID #:3694



 1   prosecution’s receipt and review of attorney-client privileged

 2   materials.

 3           As set forth herein, the government opposes defendant’s request

 4   that the Court stay all other motion practice pending resolution of

 5   defendant’s yet-to-be-filed motion regarding alleged violations of

 6   the attorney-client privilege.        Although the government does not

 7   oppose defendant’s request for a briefing schedule regarding this

 8   issue, the government requests that the due date for the government’s

 9   opposition be two weeks after the due date for defendant’s motion,

10   which is consistent with the parties’ current stipulated briefing

11   schedule.    Defendant should file his motion by September 14, 2020,

12   and the government’s opposition should be filed by September 28,

13   2020.

14           This opposition is based upon the attached memorandum of points

15   and authorities and exhibits, the files and records in this case, and

16   such further evidence and argument as the Court may permit.

17    Dated: September 4, 2020             Respectfully submitted,

18                                         NICOLA T. HANNA
                                           United States Attorney
19
                                           BRANDON D. FOX
20                                         Assistant United States Attorney
                                           Chief, Criminal Division
21

22                                               /s/
                                           JULIAN L. ANDRÉ
23                                         BRETT A. SAGEL
                                           Assistant United States Attorneys
24
                                           Attorneys for Plaintiff
25                                         UNITED STATES OF AMERICA

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2         Defendant MICHAEL JOHN AVENATTI (“defendant”) is seeking a stay

 3   of all motions practice in this case based solely on inaccurate and

 4   unsubstantiated allegations regarding purported violations of the

 5   attorney-client privilege.       This Court should reject defendant’s

 6   request for a stay.      Even if there were any merit to defendant’s

 7   allegations (and there is not), such allegations would not provide a

 8   basis for effectively staying this litigation pending the resolution

 9   of defendant’s yet-to-be-filed motion asserting attorney-client

10   privilege claims.

11         As will be shown if and when defendant files a properly-noticed

12   motion, defendant’s current conclusory statement of the facts is

13   inaccurate and misleading.1       As summarized below, the Prosecution

14   Team handled the documents at issue appropriately at all times:

15            In May 2020, while reviewing search warrant materials that
16             the Privilege Review Team had recently released to the

17             Prosecution Team, the Prosecution Team came across a small

18             number of emails between Eagan Avenatti LLP’s (“EA LLP”)

19             former office manager (“EA Employee 1”) and EA LLP’s

20             bankruptcy counsel relating to the preparation of documents

21             to be filed in EA LLP’s bankruptcy proceeding.2         (Ex. A.)

22
          1 In his ex parte application, defendant refers to a letter he
23   received from the Privilege Review Team. The Prosecution Team was
     not provided a copy of this letter and defendant has not attached it
24   to his application, so the Prosecution Team is unable to fully
     comment on the contents of the letter at this time.
25
          2 On May 8, 2020, the Prosecution Team reproduced to defendant
26   duplicate copies of approximately 87,226 documents that the Privilege
     Review Team already produced to defendant in March 2020, and
27   subsequently released to the Prosecution Team in April 2020. (See CR
     168 at 2-3.) Contrary to defendant’s claims, the Prosecution Team
28   did not review all 87,226 of these documents prior to reproducing the
     duplicate copies to the defense.
     Case 8:19-cr-00061-JVS Document 261 Filed 09/04/20 Page 4 of 19 Page ID #:3696



 1            Although the Prosecution Team did not believe the documents
 2             involving EA LLP’s bankruptcy counsel were privileged, out of

 3             an abundance of caution, the Prosecution Team immediately

 4             ceased its review of the documents, informed the Privilege

 5             Review Team of the existence of these documents, and

 6             requested that the Privilege Review Team evaluate whether the

 7             documents were potentially privileged.        (Ex. A.)    The

 8             Prosecution Team also informed the Privilege Review Team that

 9             the Prosecution Team would not review any other documents

10             involving EA LLP’s bankruptcy counsel until the Privilege

11             Review Team had completed its review.        (Ex. A.)

12            In late June 2020, the Privilege Review Team advised the
13             Prosecution Team that in an abundance of caution it had

14             removed or clawed-back all of the documents it had identified

15             involving EA LLP’s bankruptcy counsel from the Prosecution

16             Team’s document review database (approximately 179 documents

17             or 299 documents including family members3).         (Ex. A.)    In

18             response, the Prosecution Team requested that the Privilege

19             Review Team notify the defense that these documents,

20             duplicate copies of which had already been produced to

21             defendant, had been clawed-back from the Prosecution Team and

22             therefore were no longer accessible to the Prosecution Team.

23             (Ex. A.)

24            At no point between the time when the Prosecution Team first
25             presented this issue to the Privilege Review Team in May 2020

26

27         3“Family members” are related documents. For example, if an
     email is identified as a potentially privileged document, all emails
28   within that email string and/or any attachments to those emails would
     be “family members.”
                                        2
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 1             and when the Privilege Review Team removed these documents

 2             from the Prosecution Team’s database in June 2020, did the

 3             Prosecution Team review any of these documents or any other

 4             documents involving EA LLP’s bankruptcy counsel.          (Ex. A.)

 5            Other than the handful of emails the Prosecution Team
 6             discovered in May 2020, government counsel does not recall

 7             seeing or reviewing any other emails involving EA LLP’s

 8             bankruptcy counsel.

 9            The Privilege Review Team informed defendant that the
10             Prosecution Team reviewed a small number of the potentially

11             privileged documents, and upon encountering them, alerted the

12             Privilege Review Team, and did not review the contents of the

13             remaining 299 documents pending the Privilege Review Team

14             removing them from the Prosecution Team’s database.4

15         Simply put, the Prosecution Team was exposed to a small number -

16   - likely three or four at most -- of potentially privileged emails

17   involving EA LLP’s bankruptcy counsel, at which point it immediately

18   notified the Privilege Review Team and ceased its review of those

19   documents and any other emails involving EA LLP’s bankruptcy counsel.

20   (Ex. A.)    The Prosecution Team’s actions were entirely consistent

21   with the specific search protocols set forth in the applicable search

22   warrant.    The applicable search warrant provides:

23         If, upon review, a member of the Investigation Team
           determines that a document or data appears to contain
24         potentially privileged information, the Investigation Team
           member shall discontinue its review of the document or data
25

26         4Although the Prosecution Team does not have a copy or access
     to the letter the Privilege Review Team sent to defendant, the
27   Prosecution Team believes that this information was conveyed to
     defendant because the Privilege Review Team sought verification of
28   the accuracy of this information from the Prosecution Team on
     September 2, 2020.
                                        3
     Case 8:19-cr-00061-JVS Document 261 Filed 09/04/20 Page 6 of 19 Page ID #:3698



 1         and shall immediately notify a member of the Privilege
           Review Team. The Investigation Team member may record
 2         identifying information regarding the potentially
           privileged document or data that is reasonably necessary to
 3         identify the document or data for the Privilege Review
           Team. The Investigation Team shall not further review any
 4         documents or data that appears to contain such potentially
           privileged information until after the Privilege Review
 5         Team has completed its review of the additional potentially
           privileged information discovered by the Investigation Team
 6         member.

 7   Search and Seizure Warrant, In re: Search of Ten Digital Devices, No.

 8   8:19-mj-419, Dkt. 4, Att. B at ¶ 14 (May 24, 2019).            Defendant

 9   neither challenges the court-authorized search warrant protocols, nor

10   claims that the government failed to abide by the search protocols.

11   Defendant’s application simply asserts inflammatory claims with no

12   citation to any facts, supporting evidence, or applicable case law.

13         In an attempt to delay these criminal proceedings, defendant has

14   again provided this Court with misleading information.            Although the

15   Privilege Team presumably told defendant that the Prosecution Team

16   had only reviewed a small number of the potentially privileged

17   documents, immediately informed the Privilege Review Team of their

18   existence, and never reviewed the contents of any of the other

19   potentially privileged documents, defendant claims “the prosecution

20   team received and reviewed approximately 299 attorney-client

21   privileged documents reflecting communications between Mr. Avenatti

22   and his lawyers.”      (CR 260 at 2.)    Defendant was aware when he filed

23   the instant application that the Prosecution Team did not “review 299

24   attorney-client privileged documents,” yet failed to disclose this

25   fact to the Court.

26         Moreover, defendant does not appear to be interested in

27   ascertaining the actual facts relating to this issue.            Defendant

28   advised the Prosecution Team that defendant intended to file this ex

                                              4
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 1   parte application via an e-mail at approximately 10:00 a.m. on

 2   September 3, 2020.      (Ex. B.)    In response, the Prosecution Team told

 3   defendant that the facts set forth in his email -- facts similar to

 4   what defendant sets forth in his ex parte application -- were

 5   inaccurate and offered to provide defendant with additional

 6   information.     (Ex. B.)   Rather than seek such additional information

 7   from the Prosecution Team, defendant filed the instant ex parte

 8   application one hour later.5

 9         Defendant has also failed to provide any information regarding

10   the potentially privileged documents themselves.           The mere fact that

11   an email involves EA LLP’s bankruptcy counsel does not establish that

12   such a document is privileged.        As noted above, the few emails the

13   Prosecution Team reviewed months ago were not between defendant and

14   his individually retained bankruptcy attorneys, but between EA

15   Employee 1 and EA LLP’s bankruptcy counsel.          Thus, assuming arguendo

16   those communications were privileged and no exception to the

17   privilege applies, the privilege would not belong to defendant.6

18         Finally, there is no legal basis for the Court to stay all other

19   briefing in this case based solely on defendant’s bare assertion that

20

21        5 Defendant’s representation that “the government responded that
     they do not oppose the briefing schedule” (CR 260 at 4) is
22   inaccurate. The government told defendant: “As for your request for
     a briefing schedule, we do not believe such a request is necessary.
23   As long as the briefing schedule conforms with our previously agreed
     to schedule of two weeks to oppose, one week to reply, you are free
24   to file your motion whenever you want.” (Ex. B.) At 1:20 p.m.,
     approximately twenty minutes after defendant filed the instant
25   application, the government notified defense counsel that the
     application misrepresented the government’s position and asked
26   whether defendant would correct their filing. (Ex. C.) Defendant
     has neither responded nor corrected his filing.
27
          6 The government will address more completely whether the
28   documents and emails are privileged when it responds to defendant’s
     motion.
                                        5
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 1   he intends to file a motion seeking unspecified, yet potentially

 2   drastic, relief.     Defendant does not cite any case law demonstrating

 3   that he is entitled to a stay merely because he intends to file a

 4   motion regarding an alleged violation of the attorney-client

 5   privilege.    Nor has defendant explained how the Prosecution Team’s

 6   exposure months ago to a handful of emails, which may not even be

 7   privileged, would prevent the Court from resolving other pretrial

 8   motions or pending issues, such as severance or whether defendant has

 9   violated his temporary release conditions.          And defendant’s ex parte

10   application, which cites no actual evidence, certainly does not

11   establish that he is likely to succeed on the merits of any such

12   motion, let alone that there is any likelihood that he would obtain

13   such drastic relief as dismissal of the indictment or

14   disqualification of counsel.        Instead, defendant relies on conclusory

15   allegations that he has suffered some unidentified irreparable harm

16   and that his constitutional rights were violated.           For example,

17   defendant claims that the disclosure of the potentially privileged

18   communications involving EA LLP’s bankruptcy counsel (presumably in

19   2017 or 2018 during the pendency of the EA LLP bankruptcy) violates

20   defendant’s Sixth Amendment right to counsel.           This claim is

21   nonsensical.     “[T]he Sixth Amendment does not govern civil cases,”

22   Turner v. Rogers, 564 U.S. 431, 441 (2011), and does not attach in a

23   criminal proceeding “until a prosecution is commenced,” McNeil v.

24   Wisconsin, 501 U.S. 171, 176 (1991).

25         In sum, defendant should not be allowed to significantly delay

26   this case based on inaccurate and misleading assertions purporting to

27   support a motion that defendant has not yet filed for potential

28   relief to which he is not entitled.          Accordingly, the government

                                              6
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 1   respectfully submits that the Court should deny defendant’s ex parte

 2   application, order defendant to file a properly noticed motion, and

 3   set a briefing schedule consistent with the parties’ prior

 4   stipulation, which would provide the government with two weeks to

 5   file an opposition and defendant one week to file a reply.

 6   Alternatively, the Court should deny defendant’s ex parte application

 7   and simply require defendant to file his motion by the September 14,

 8   2020, motions deadline, with the previously set briefing schedule.

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                       EXHIBIT A
          Case 8:19-cr-00061-JVS Document 261 Filed 09/04/20 Page 11 of 19 Page ID #:3703


Andre, Julian L. (USACAC)

From:                                Andre, Julian L. (USACAC)
Sent:                                Friday, June 26, 2020 5:01 PM
To:                                  Woodring, Joseph (USACAC); Fitzgerald, Patrick (USACAC)
Cc:                                  Sagel, Brett (USACAC)
Subject:                             RE: Avenatti - Privilege Review


Patrick and Joe,

Thank you for looking into this issue. Although Brett and I did not believe those documents were privileged, we
appreciate you taking a cautious approach to these issues. Since we already reproduced copies of those particular
documents to the defense, however, we believe we will need to advise defendant that the Privilege Review Team has
clawed those documents back, that the Prosecution Team no longer has access to those particular documents, and that
if the defense intends to rely on any of those documents at trial they would need to produce them to the Prosecution
Team pursuant to defendant’s reciprocal discovery obligations. Our preference would be that the Privilege Review
Team send defendant a letter to advising him that the documents have been clawed back, copying us and attaching a list
of the relevant Bates‐numbers. At a minimum, we will need a list of the relevant Bates‐numbers that have been
extracted from the Clean database for our own records.

This email will also confirm that I have deleted the sample documents I had attached to the initial email I sent you on
May 14, 2020. I have not opened the files since we sent them to you on May 14, 2020.

Please let us know if you would like to discuss further. Thank you.

Julian

From: Woodring, Joseph (USACAC) <JWoodring1@usa.doj.gov>
Sent: Wednesday, June 24, 2020 3:35 PM
To: Andre, Julian L. (USACAC) <JAndre1@usa.doj.gov>; Fitzgerald, Patrick (USACAC) <PFitzgerald2@usa.doj.gov>
Subject: RE: Avenatti ‐ Privilege Review

Julian,

Patrick and I are following up on the below email about emails between EA Employee 1 and Eagan Avenatti LLP’s counsel
in the bankruptcy proceeding (Robert Saunders from Pachulski Stang Ziehl Jones) in the prosecution team
workspace. Upon review with the assistance of a PRT contract attorney, we have decided to remove any such emails
from the prosecution team database in an abundance of caution. Leidos located 179 of these documents in the
prosecution team database (299 documents total including family members), and will be removing the 299 documents
from the clean workspace at our direction.

Let us know if you have questions.

Thanks,

Joe

From: Andre, Julian L. (USACAC) <JAndre1@usa.doj.gov>
Sent: Thursday, May 14, 2020 11:19 AM

                                                             1
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To: Woodring, Joseph (USACAC) <JWoodring1@usa.doj.gov>; Fitzgerald, Patrick (USACAC) <PFitzgerald2@usa.doj.gov>
Subject: Avenatti ‐ Privilege Review

Patrick and Joe:

Last night while reviewing the documents the Privilege Review Team recently released to us, Brett and I came across a
                            EA Employee 1
handful of emails between                 and Eagan Avenatti LLP’s counsel in the bankruptcy proceeding (Robert Saunders
from Pachulski Stang Ziehl Jones) relating to the preparation of Eagan Avenatti’s LLP Monthly Operating Reports (MORs)
which needed to be filed with the bankruptcy court. I have attached two examples of these documents. Brett and I do
not believe these communications are privileged, but we wanted to double check with you out of an abundance of
caution to make sure they were not released to us inadvertently. Until we hear back from you, we will simply skip any
similar documents we come across in the database and mark them for further review by the privilege review team.

Please let me know if you would like to discuss. Thank you.

Julian

Julian L. André
Assistant United States Attorney
Major Frauds Section
United States Courthouse, Suite 1100
312 N. Spring St. | Los Angeles, California 90012
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                       EXHIBIT B
        Case 8:19-cr-00061-JVS Document 261 Filed 09/04/20 Page 14 of 19 Page ID #:3706


Andre, Julian L. (USACAC)

From:                              Andre, Julian L. (USACAC)
Sent:                              Thursday, September 3, 2020 11:58 AM
To:                                Dean Steward
Cc:                                Sagel, Brett (USACAC)
Subject:                           RE: AUSA Woodring's letter of yesterday


Dean:

As we were not provided a copy of the letter you received from AUSA Woodring, we do not know the contents
therein. We, however, are certain that the “facts” you set forth below are not even close to accurate. If you would like
to discuss this matter further, we would be glad to provide you with additional information. We are confident that you
will soon realize that there is no basis for you to seek any relief from the Court regarding this matter, which was handled
appropriately at all times.

As for your request for a briefing schedule, we do not believe such a request is necessary. As long as the briefing
schedule conforms with our previously agreed to schedule of two weeks to oppose, one week to reply, you are free to
file your motion whenever you want. We do, however, oppose the stay of all other motions practice as we believe this
is simply an attempt at delay. Even if your allegations were accurate (and they are not), there is no reason why such
allegations would preclude the Court from addressing any other motions.

Julian L. André
Assistant United States Attorney
Major Frauds Section
United States Courthouse, Suite 1100
312 N. Spring St. | Los Angeles, California 90012
T: 213.894.6683 | julian.l.andre@usdoj.gov




From: Dean Steward <deansteward7777@gmail.com>
Sent: Thursday, September 3, 2020 10:07 AM
To: Sagel, Brett (USACAC) <BSagel@usa.doj.gov>; Andre, Julian L. (USACAC) <JAndre1@usa.doj.gov>
Subject: AUSA Woodring's letter of yesterday




Gentlemen:



   Late yesterday, we learned that the prosecution team acquired and reviewed
certain of my client’s attorney-client privileged documents – nearly 300 documents
and well over 1,000 pages. To compound matters, it appears that your team has had
these documents in your possession for over six months in some instances and yet you


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never alerted the defense as required pursuant to your ethical obligations under
federal and California law.



   This is especially egregious seeing as you previously represented to the Court that
your team had thoroughly reviewed the entirety of the discovery production and
were prepared to proceed to trial.

We intend to move ex parte for the following later today: (1) a briefing schedule for
a motion we will be filing seeking relief as a result of the prosecution team’s review
of my client’s attorney-client privileged documents, including but not limited to:

(a) your disqualification and

(b) an evidentiary hearing (if necessary)



and (2) a stay of all other motion practice before the Court pending a ruling on our
motion, which deals with a threshold issue that must be resolved before this case
continues.



    We intend to ask for the Court to permit us to file our brief no later than
September 11, with the government’s opposition due seven days later on September
18, and our reply due no later than September 25.

Please let me know by noon if you oppose our ex parte.

Thank you.



Dean


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           949-481-4900 www.deansteward.com




                                       3
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                       EXHIBIT C
      Case 8:19-cr-00061-JVS Document 261 Filed 09/04/20 Page 18 of 19 Page ID #:3710


Andre, Julian L. (USACAC)

From:                             Sagel, Brett (USACAC)
Sent:                             Thursday, September 3, 2020 1:20 PM
To:                               Dean Steward
Cc:                               Andre, Julian L. (USACAC)
Subject:                          FW: Activity in Case 8:19-cr-00061-JVS USA v. Avenatti Motion for Order


Dean‐
The ex parte that you filed stated that “The   government responded that they do not oppose the briefing
schedule.”
That is inaccurate and not what we specifically told you this morning. In our email to you we stated our position as
follows: “As for your request for a briefing schedule, we do not believe such a request is necessary. As long as the
briefing schedule conforms with our previously agreed to schedule of two weeks to oppose, one week to reply, you are
free to file your motion whenever you want.” Please let us know if you are going to correct your filing.
Brett

From: cacd_ecfmail@cacd.uscourts.gov <cacd_ecfmail@cacd.uscourts.gov>
Sent: Thursday, September 3, 2020 1:03 PM
To: ecfnef@cacd.uscourts.gov
Subject: Activity in Case 8:19‐cr‐00061‐JVS USA v. Avenatti Motion for Order


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                                     UNITED STATES DISTRICT COURT

                                   CENTRAL DISTRICT OF CALIFORNIA

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The following transaction was entered by Steward, H on 9/3/2020 at 1:02 PM PDT and filed on 9/3/2020
Case Name:           USA v. Avenatti
Case Number:         8:19-cr-00061-JVS
Filer:               Dft No. 1 - Michael John Avenatti
Document Number: 260

Docket Text:
EX PARTE APPLICATION for Order for Setting Briefing Schedule- Privileged Documents
Released to Prosecution Filed by Defendant Michael John Avenatti. (Attachments: # (1)
Proposed Order) (Steward, H)

                                                           1
     Case 8:19-cr-00061-JVS Document 261 Filed 09/04/20 Page 19 of 19 Page ID #:3711


8:19-cr-00061-JVS-1 Notice has been electronically mailed to:

Brett A Sagel    brett.sagel@usdoj.gov, CaseView.ECF@usdoj.gov, USACAC.SACriminal@usdoj.gov

H Dean Steward     deansteward7777@gmail.com, deansteward@fea.net

Jack Andrew Reitman jareitman@landaufirm.com, avedrova@landaufirm.com, jreitman@landaufirm.com,
srichmond@landaufirm.com, vrichmond@landaufirm.com

John P Reitman jreitman@landaufirm.com, avedrova@landaufirm.com, srichmond@landaufirm.com,
vrichmond@landaufirm.com

Julian Lucien Andre    julian.l.andre@usdoj.gov, CaseView.ECF@usdoj.gov, USACAC.Criminal@usdoj.gov

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[1229c743ee1dfa229d977aae1ea92413c5f5e43c77cd25cdc6d13cb01e40162bacab
195ed7318119d16dd62d1fd70988c8d0f55ef3bc9969861f3c7bb5e5c59a]]
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[c3c176944a47a567ad01544bb8708c557d0dcdfcafa1f7e1604be903c1f47d03182e
8c021bd159d569a3870b41451e649fd0e84a8b37c4b98596eb69c5a8e3c6]]




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